     Case 2:19-cv-01614-DDP-FFM Document 10 Filed 03/27/19 Page 1 of 3 Page ID #:24




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 6
      Attorney for Plaintiff

 7                      UNITED STATES DISTRICT COURT
 8                    CENTRAL DISTRICT OF CALIFORNIA
 9
                                                          )     Case No.
10
       CAROLYN NAVARRO, individually                      )
       and on behalf of all others similarly              )
11     situated,
                                                          )
                                                                2:19-cv-01614
12
       Plaintiff,                                         )
                                                                NOTICE OF VOLUNTARY
13
                                                          )
       vs.                                                      DISMISSAL OF ENTIRE
                                                          )
14                                                              ACTION WITHOUT
                                                          )
       GREENSPIRE HOLDINGS, LLC D/B/A                           PREJUDICE.
15                                                        )
       GREENSPIRE, and DOES 1 through 10,                 )
16     inclusive, and each of them,
                                                          )
17
       Defendant.                                         )
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                                                          )
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                                      Notice of Dismissal - 1
     Case 2:19-cv-01614-DDP-FFM Document 10 Filed 03/27/19 Page 2 of 3 Page ID #:25




 1          NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
 2    Civil Procedure 41(a)(1), hereby voluntarily dismisses this action without
 3    prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed a
 4    motion for summary judgment. Although this case was filed as a class action, no
 5    class has been certified, and court approval of this voluntary dismissal is therefore
 6    not required under Rule 23(a) of the Federal Rules of Civil Procedure.
 7    Accordingly, this matter may be dismissed without prejudice and without an
 8    Order of the Court.
 9
            Respectfully submitted this 27th Day of March, 2019.
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11                                            By: s/Todd M. Friedman Esq.
                                                   Todd M. Friedman
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                                                  Attorney For Plaintiff
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                                        Notice of Dismissal - 2
     Case 2:19-cv-01614-DDP-FFM Document 10 Filed 03/27/19 Page 3 of 3 Page ID #:26




 1                            CERTIFICATE OF SERVICE
 2
      Filed electronically on March 27, 2019 with:
 3

 4    United States District Court CM/ECF system
 5
      Notification sent electronically on March 27, 2019, to:
 6

 7
      To the Honorable Court, all parties and their Counsel of Record

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 9    s/ Todd M. Friedman
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        Todd M. Friedman
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                                       Notice of Dismissal - 3
